              Case 5:21-cv-02392-BLF Document 61 Filed 05/25/22 Page 1 of 3




1    Kyle W. Roche (pro hac vice)                 EVERSHEDS SUTHERLAND (US) LLP
     Edward Normand (pro hac vice)                Ian S. Shelton (SBN 264863)
2    Alex Potter (pro hac vice)                   ianshelton@eversheds-sutherland.com
     Stephen Lagos (pro hac vice)                 500 Capitol Mall, Suite 1750
3    ROCHE FREEDMAN LLP                           Sacramento, CA 95814
     99 Park Avenue, 19th Floor                   Telephone: (916) 844-2965
4
     New York, NY 10016                           Facsimile: (916) 241-0501
5    Tel.: 646-970-7509
     Email: kyle@rochefreedman.com                EVERSHEDS SUTHERLAND (US) LLP
6                                                 Michael Bahar (admitted PHV)
     Ivy Ngo (SBN 249860)                         michaelbahar@eversheds-sutherland.com
7    ROCHE FREEDMAN LLP                           700 Sixth Street, NW, Suite 700
     1 SE 3rd Ave.                                Washington, DC 20001-3980
8
     Suite 1240                                   Telephone: (202) 383-0882
9    Miami, FL 33131                              Facsimile: (202) 637-3593
     Tel.: 786-924-2900
10   ingo@rochefreedman.com                       Attorneys for Defendant

11   Attorneys for Plaintiff
12

13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                            )
     JUNHAN JEONG, individually and on behalf )   Case Number: 5:21-CV-02392-BLF
16
     of all others similarly situated,        )
17                                            )   JOINT STIPULATION AND
              Plaintiff,                      )   [PROPOSED] ORDER
18                                            )
              vs.                             )   AS MODIFIED BY THE COURT
19                                            )
     NEXO CAPITAL INC.                        )
20
                                              )
21            Defendant.                      )
                                              )
22                                            )
                                              )
23

24

25

26

27
                        JOINT STIPULATION AND [PROPOSED] ORDER
28
                                  Case No. 5:21-CV-02392-BLF
                 Case 5:21-cv-02392-BLF Document 61 Filed 05/25/22 Page 2 of 3




1           Plaintiff Junhun Jeong, individually and on behalf of all others similarly situated, and De-
2    fendant Nexo Capital Inc. (“Nexo”), by and through their undersigned counsel, hereby stipulate

33   as follows:
4           WHEREAS, on September 10, 2021, the Court so-ordered the parties’ stipulated schedule
4
5    regarding discovery (the “Initial Schedule”) (see Dkt. No. 40);
5
6           WHEREAS, deadlines set forth in the Initial Schedule were tied to the Court’s adjudica-
6
7    tion of Nexo and its corporate affiliates’ motion to dismiss, which was filed on July 19, 2021
78
     (see Dkt. No. 27), and decided on January 19, 2022 (see Dkt. No. 48);
89          WHEREAS, after the Court granted in part and denied in part Nexo and its affiliates’ mo-
10
9    tion to dismiss, Plaintiff filed an amended complaint against Nexo (see Dkt. No. 55);
11          WHEREAS, on March 28, 2022, Nexo filed a motion to dismiss Plaintiff’s amended
10
12   complaint (see Dkt. No. 56);
11
13          WHEREAS, Nexo’s motion to dismiss Plaintiff’s amended complaint will be fully
12
14   briefed by June 13, 2022 (see Dkt. No. 54);
13
15          WHEREAS, the hearing on Nexo’s motion to dismiss Plaintiff’s amended complaint is
14
16   currently set for July 21, 2022 at 9:00 a.m.;
17
15          IT IS ACCORDINGLY HEREBY STIPULATED AND AGREED, by and between the
18
16   undersigned counsel for Plaintiff and Nexo, subject to the Court’s approval, as follows:
19
17          1.      The Initial Schedule (Dkt. No. 40) is vacated. *
20          2.      The parties will submit a stipulated revised schedule to the Court within fourteen
18
21   days of the Court’s order on Nexo’s motion to dismiss Plaintiff’s amended complaint.
19
22
20   *All pretrial and trial dates previously set by the Court remain set, including Last Day to
23
      Hear Dispositive Motions, Final Pretrial Conference, and trial dates. See ECF No. 32.
21
24

25
22
26
23
27                                             1
                         JOINT STIPULATION AND [PROPOSED] ORDER
28
                                   Case No. 5:21-CV-02392-BLF
              Case 5:21-cv-02392-BLF Document 61 Filed 05/25/22 Page 3 of 3




1    DATED:       May 24, 2022                    EVERSHEDS SUTHERLAND (US) LLP
2                                                 By: /s/ Ian Shelton
                                                          Ian Shelton
33
4                                                         Attorneys for Defendant
4
5
5
6
6    DATED:       May 24, 2022                    ROCHE FREEDMAN LLP
7
                                                  By: /s/ Edward Normand
78
                                                          Edward Normand
89
                                                          Attorneys for Plaintiff
10
9
11                                NDCA LR 5-1(h)(3) Declaration
10
12
11         I attest that Ian Shelton concurs in the filing of this document.
13
12
14
     DATED:       May 24, 2022                    ROCHE FREEDMAN LLP
13
15
                                                  By: /s/ Edward Normand
14
16                                                        Edward Normand
17
15                                                        Attorneys for Plaintiff
18
16
19
17
20   PURSUANT TO STIPULATION, IT IS SO ORDERED:
18
21
19
22            May 25
     DATED: ____________, 2022            _____________________________________
20
23
                                          HON. BETH LABSON FREEMAN
21
24

25
22
26
23
27                                           2
                       JOINT STIPULATION AND [PROPOSED] ORDER
28
                                 Case No. 5:21-CV-02392-BLF
